   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 1 of 17 PageID #:104




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 US FOODS, INC.,
                                               Civil Action No. 1:21-cv-06915
              Plaintiff,
       v.                                      Judge Ronald A. Guzman
                                               Magistrate Young B. Kim
 SRG SOUTH HILLS, LLC d/b/a BRGR –
 SOUTH HILLS; SRG DOWNTOWN, LLC
 d/b/a – BRGR DOWNTOWN; SRG
 STATE COLLEGE, LLC d/b/a BRGR –
 STATE COLLEGE; STACKMAN, LLC
 d/b/a WILLOW; SRG EASTSIDE, LLC
 d/b/a BRGR – EASTSIDE; and STERN
 ALTOONA ENTERPRISES, INC. d/b/a
 MANOR THEATER,

              Defendants.

                       ANSWER AND AFFIRMATIVE DEFENSES

      AND NOW, come the Defendants, SRG South Hills, LLC d/b/a BRGR – South

Hills, SRG – Downtown, LLC d/b/a BRGR – Downtown, SRG State College, LLC d/b/a

BRGR – State College, Stackman, LLC d/b/a Willow; SRG Eastside, LLC d/b/a BRGR –

Eastside, and Stern Altoona Enterprises, Inc. d/b/a Manor Theater, by and through their

undersigned Counsel, and file the within Answer and Affirmative Defenses:

                                    THE PARTIES

      1.     Admitted.

      2.     Admitted.

      3.     Admitted.

      4.     Admitted.




                                           1
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 2 of 17 PageID #:105




       5.      Admitted in part and denied in part. Willow was located at 634 Camp

Horne Road, Pittsburgh, PA 15237. However, Willow is no longer an active business,

and it is now located at 94 South 13th Street, Pittsburgh, PA 15203.

       6.      Admitted.

       7.      Admitted in part and denied in part. Manor Theater is a corporation with its

principal place of business at 1729 Murray Ave, Pittsburgh, PA 15217.

                                JURISDICTION AND VENUE

       8.      It is admitted that the Circuit Court of Cook County, Illinois had jurisdiction

over this case. However, this case has been removed by the Defendants to the United

States District Court for Northern District of Illinois.

       9.      It is admitted that the Circuit Court of Cook County, Illinois had jurisdiction

over this case. However, this case has been removed by the Defendants to the United

States District Court for Northern District of Illinois.

       10.     It is admitted that venue in the Circuit Court of Cook County, Illinois was

appropriate. However, this case has been removed by the Defendants to the United

States District Court for Northern District of Illinois.

                                 GENERAL ALLEGATIONS

       11.     Admitted.

       12.     Admitted.

       13.     Denied to extent Plaintiff’s characterization of the Credit Applications

deviates from their plain language, as the Credit Applications are written documents

which speak for themselves.




                                                2
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 3 of 17 PageID #:106




      14.    Denied to extent Plaintiff’s characterization of the Credit Applications

deviates from their plain language, as the Credit Applications are written documents

which speak for themselves.

      15.    Denied to extent Plaintiff’s characterization of the Credit Applications

deviates from their plain language, as the Credit Applications are written documents

which speak for themselves.

      16.    Denied to extent Plaintiff’s characterization of the Credit Applications

deviates from their plain language, as the Credit Applications are written documents

which speak for themselves.

      17.    Denied to extent Plaintiff’s characterization of the Credit Applications

deviates from their plain language, as the Credit Applications are written documents

which speak for themselves.

      18.    Denied to extent Plaintiff’s characterization of the Credit Applications

deviates from their plain language, as the Credit Applications are written documents

which speak for themselves.

      19.    Admitted.

      20.    Denied to extent Plaintiff’s characterization of the Master Distribution

Agreement deviates from its plain language, as the Master Distribution Agreement is a

written document which speaks for itself.

      21.    Denied to extent Plaintiff’s characterization of the Master Distribution

Agreement deviates from its plain language, as the Master Distribution Agreement is a

written document which speaks for itself.




                                            3
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 4 of 17 PageID #:107




      22.    Denied to extent Plaintiff’s characterization of the Master Distribution

Agreement deviates from its plain language, as the Master Distribution Agreement is a

written document which speaks for itself.

      23.    Admitted in part. The invoices sent by US Foods to Defendants are written

documents which speak for themselves.

      24.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

      25.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded. By way of further response, the table included in

paragraph 25 of the Complaint includes amounts allegedly owed by parties which are

not part of this action, namely BRGR-Shadyside and BRGR-Food Truck.

      26.    Admitted in part. It is admitted that a document is attached to the

Complaint as Exhibit C. However, Defendants lack knowledge or information sufficient

to form a belief about whether the document is a “true and correct copy” and whether

the alleged accounting is an accurate representation of amounts due under the Master

Distribution Agreement. Accordingly, said averments are denied and strict proof thereof

is demanded. By way of further response, it is believed and therefore averred that

Plaintiff has failed to credit all payments made by Defendants.

      27.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied




                                            4
    Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 5 of 17 PageID #:108




and strict proof thereof is demanded. By way of further response, Defendants believe

and therefore aver that Plaintiff has failed to credit all payments made by Defendants.

       28.     Denied to extent Plaintiff’s characterization of the Master Distribution

Agreement deviates from its plain language, as the Master Distribution Agreement is a

written document which speaks for itself.

       29.     Denied as stated. Plaintiff paid five of the Defendants each a signing

incentive.

       30.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded. By way of further response, Defendants were

unable to maintain the requisite purchase volume as a result of Plaintiff’s refusal to

supply additional goods and services to Defendants, which refusal constitutes a breach

of the parties’ agreement.

       31.     Admitted in part. The letter sent by US Foods to Defendants is a written

document which speaks for itself.

       32.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

                                      COUNT I
                                 BREACH OF CONTRACT

       33.     Defendants hereby incorporate paragraphs 1 through 32 above as if set

for the in their entirety.




                                              5
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 6 of 17 PageID #:109




      34.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

      35.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

      36.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

      37.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

      38.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

      39.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

      40.     Admitted.

      41.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.




                                           6
    Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 7 of 17 PageID #:110




       42.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded. By way of further response, each Defendant

herein submitted a separate Credit Application to Plaintiff. Thereafter, each Defendant

separately ordered and received goods and services from Plaintiff. Defendants believe,

and therefore aver, that Plaintiff maintained separate accounts for each Defendant,

identified by a unique customer number for each Defendant. Plaintiff issued invoices to

each Defendant, based on the goods and services delivered only to that Defendant.

Accordingly, Plaintiff is barred from holding the Defendants jointly and severally liable

for the total amount allegedly due.

       43.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       44.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       45.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

                                  COUNT II
                   BREACH OF CONTRACT – INCENTIVE PROVISION

       46.     Defendants hereby incorporate paragraphs 1 through 45 above as if set

for the in their entirety.




                                             7
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 8 of 17 PageID #:111




       47.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       48.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       49.    Denied as stated. Plaintiff paid five of the Defendants each a signing

incentive.

       50.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded. By way of further response, Defendants were

unable to maintain the requisite purchase volume as a result of Plaintiff’s refusal to

supply additional goods and services to Defendants, which refusal constitutes a breach

of the parties’ agreement.

       51.    Admitted in part. The letter sent by US Foods to Defendants is a written

document which speaks for itself.

       52.    Admitted. By way of further response, Defendants deny they are obligated

to refund any portion of the incentive payment.

       53.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.




                                             8
    Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 9 of 17 PageID #:112




       54.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       55.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       56.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

                                         COUNT III
                                    ACCOUNT STATED
                              (In the alternative to Count I)

       57.     Defendants hereby incorporate paragraphs 1 through 56 above as if set

for the in their entirety.

       58.     Admitted.

       59.     Admitted in part. The invoices sent by US Foods to Defendants are written

documents which speak for themselves.

       60.     Defendants lack knowledge or information sufficient to form a belief about

Plaintiff’s normal accounting procedures and whether invoices were sent in accordance

with those procedures.

       61.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       62.     Admitted.



                                             9
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 10 of 17 PageID #:113




        63.     Denied to extent Plaintiff’s characterization of Exhibit C deviates from its

plain language, as the Exhibit C is a written document which speaks for itself.

        64.     Defendants lack knowledge or information sufficient to form a belief about

Plaintiff’s intent.

        65.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

        66.     Admitted in part. The letter sent by US Foods to Defendants is a written

document which speaks for itself.

        67.     Denied. Defendants have made substantial payments to Plaintiff since the

demand letter was issued. However, it is believed and therefore averred that Plaintiff

has failed to credit all payments made by Defendants.

        68.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

        69.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

                                           COUNT IV
                                          GOODS SOLD
                             (In the alternative to Counts I and III)

        70.     Defendants hereby incorporate paragraphs 1 through 69 above as if set

for the in their entirety.

        71.     Admitted.



                                               10
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 11 of 17 PageID #:114




       72.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       73.     Admitted in part. The invoices sent by US Foods to Defendants are written

documents which speak for themselves.

       74.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

                                              COUNT V
                                      UNJUST ENRICHMENT
                             (In the alternative to Counts I, III and IV)

       75.     Defendants hereby incorporate paragraphs 1 through 74 above as if set

for the in their entirety.

       76.     Admitted.

       77.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       78.     Admitted.

       79.     Admitted.

       80.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.




                                                 11
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 12 of 17 PageID #:115




       81.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       82.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       83.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

                                          COUNT VI
                                     QUANTUM MERUIT
                        (In the alternative to Counts I, III, IV and V)

       84.     Defendants hereby incorporate paragraphs 1 through 83 above as if set

for the in their entirety.

       85.     Admitted.

       86.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       87.     Admitted.

       88.     Admitted.

       89.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       90.     Admitted.



                                              12
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 13 of 17 PageID #:116




       91.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       92.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

                                         COUNT VII
                                  UNJUST ENRICHMENT
                              (In the alternative to Count II)

       93.     Defendants hereby incorporate paragraphs 1 through 92 above as if set

for the in their entirety.

       94.     Admitted.

       95.     Denied as stated. Plaintiff paid five of the Defendants signing incentives

which total $250,000.00.

       96.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       97.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       98.     Admitted in part. The letter sent by US Foods to Defendants is a written

document which speaks for itself.




                                             13
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 14 of 17 PageID #:117




       99.     The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       100.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       101.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       102.    The averments of this paragraph are conclusions of law for which no

response is required. To the extent a response is required, said averments are denied

and strict proof thereof is demanded.

       WHEREFORE, it is respectfully requested that judgment be entered in favor of

the Defendants and against the Plaintiff.

                                AFFIRMATIVE DEFENSES

       103.    Defendants hereby incorporate paragraphs 1 through 102 above as if set

for the in their entirety.

       104.    Plaintiff’s claims are barred in whole or in part by the doctrines of laches,

acquiescence, estoppel, waiver, justification and/or unclean hands.

       105.    Plaintiff’s material breaches of the parties’ agreement discharge

Defendants of any obligations under the agreement.

       106.    Plaintiff’s claims are barred due to a failure of consideration.




                                              14
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 15 of 17 PageID #:118




       107.   Plaintiff’s claims are barred as a result of the Plaintiff’s repudiation of the

agreement.

       108.   Plaintiff’s claims are barred by frustration of the agreement between the

parties.

       109.   Plaintiff’s claims are barred to the extent that Plaintiff has failed to credit all

payments made by Defendants.

       110.   Each Defendant herein submitted a separate Credit Application to Plaintiff.

       111.   Thereafter, each Defendant separately ordered and received goods and

services from Plaintiff.

       112.   Defendants believe, and therefore aver, that Plaintiff maintained separate

accounts for each Defendant, identified by a unique customer number for each

Defendant.

       113.   Plaintiff issued invoices to each Defendant, based on the goods and

services delivered only to that Defendant.

       114.   Accordingly, Plaintiff is barred from holding the Defendants jointly and

severally liable for the total amount allegedly due.

       115.   Plaintiff breached the parties’ agreement by refusing to continue to supply

goods and services to the Defendants.

       116.   As a result of the Plaintiff’s breach, Defendants were unable to maintain

the requisite purchase volume to retain the incentive provision.

       117.   Plaintiff, therefore, is barred from recovering the sums advanced as a one-

time signing incentive.




                                              15
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 16 of 17 PageID #:119




      WHEREFORE, it is respectfully requested that judgment be entered in favor of

the Defendants and against the Plaintiff.



Date: January 31, 2022                      Respectfully Submitted,


                                            /s/ Alexander L. Holmquist
                                            Robert O Lampl, pro hac vice
                                            James R. Cooney, pro hac vice
                                            Alexander L. Holmquist, pro hac vice
                                            Robert O Lampl Law Office
                                            Benedum Trees Building
                                            223 Fourth Avenue, 4th Floor
                                            Pittsburgh, PA 15222
                                            (412) 392-0330 (phone)
                                            (412) 392-0335 (facsimile)
                                            Email: aholmquist@lampllaw.com

                                            /s/ Richard Hoffman
                                            Richard Hoffman (#6204295)
                                            Cohen, Salk & Hoffman, P.C.
                                            630 Dundee Road, Suite 120
                                            Northbrook, IL 60062
                                            (847) 480-8925 (phone)
                                            (847) 480-7882 (facsimile)
                                            Email: rhoffman@cshlegal.com

                                            Counsel for Defendants




                                              16
   Case: 1:21-cv-06915 Document #: 17 Filed: 01/31/22 Page 17 of 17 PageID #:120




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 US FOODS, INC.,
                                                Civil Action No. 1:21-cv-06915
               Plaintiff,
        v.                                      Judge Ronald A. Guzman
                                                Magistrate Young B. Kim
 SRG SOUTH HILLS, LLC d/b/a BRGR –
 SOUTH HILLS; SRG DOWNTOWN, LLC
 d/b/a – BRGR DOWNTOWN; SRG
 STATE COLLEGE, LLC d/b/a BRGR –
 STATE COLLEGE; STACKMAN, LLC
 d/b/a WILLOW; SRG EASTSIDE, LLC
 d/b/a BRGR – EASTSIDE; and STERN
 ALTOONA ENTERPRISES, INC. d/b/a
 MANOR THEATER,

               Defendants.

                              CERTIFICATE OF SERVICE

       I, Alexander L. Holmquist, hereby certify that on the 31st day of January, 2022, I

served true and correct copies of the within ANSWER AND AFFIRMATIVE DEFENSES

upon the following (via electronic service):

                                     Peter J. Roberts
                                    Corey T. Hickman
                                    Cozen O’Connor
                             123 N. Wacker Drive, Suite 1800
                                    Chicago, IL 60606
                                  Attorneys for Plaintiff

                                                    /s/ Alexander L. Holmquist
                                                    Alexander L. Holmquist




                                               17
